Affordable Care, L.L.C. v. McIntyre, Not Reported in Fed. Rptr. (2023)
       Case 3:23-cv-00253-X Document 37-2 Filed 09/11/23                                Page 1 of 4 PageID 663

                                                                 the ordinary conflict disclosure form, Dr. McIntyre added
                    2023 WL 3620755                              Paul Sun to her legal team. Holton made the following
      Only the Westlaw citation is currently available.          supplemental disclosure the day after Sun entered his
       United States Court of Appeals, Fifth Circuit.            appearance:

   AFFORDABLE CARE, L.L.C., Plaintiff—Appellant,
                          v.
                                                                                 I would disclose that I know Mr. Sun
      Raeline K. MCINTYRE, DMD; Raeline K.
                                                                                 and probably have had one or more
     McIntyre, DMD, P.C., Defendants—Appellees.
                                                                                 cases with him or against him during
                        No. 22-60245                                             my career, but nothing in the last 10
                              |                                                  years. I do not believe that I have seen
                     FILED May 24, 2023                                          or communicated with him in over
                                                                                 10 years. His involvement would not
Appeal from the United States District Court for the Southern                    affect my judgment in the case. 1
District of Mississippi, USDC No. 1:21-CV-85

Attorneys and Law Firms
                                                                 The American Arbitration Association requested objections
Nancy A. Cundiff, Lewis, Brisbois, Bisgaard & Smith, L.L.P.,     to the disclosure, but none were made. The arbitration process
New Orleans, LA, David Arthur Campbell, III, Esq. (argued),      then proceeded to its conclusion with Holton ultimately
Lewis Brisbois Bisgaard & Smith, L.L.P., Cleveland, OH, for      rejecting each of Affordable's claims and awarding attorney
Plaintiff—Appellant.                                             fees to Dr. McIntyre.

Paul K. Sun, Jr. (argued), Kelly Dagger, Ellis & Winters,        Affordable subsequently moved to vacate the award in the
L.L.P., Raleigh, NC, Karl Crawford Hightower, Esq.,              United States District Court for the Southern District of
Katherine Hewes Hood, Esq., Balch & Bingham, L.L.P.,             Mississippi, citing the Federal Arbitration Act's four statutory
Gulfport, MS, for Defendants—Appellees.                          grounds for relief. It also sought discovery related to Holton's
                                                                 alleged bias and partiality.
Before Elrod and Haynes, Circuit Judges. †
                                                                 In support of its requests, Affordable submitted screenshots
Opinion
                                                                 taken from the webpages of Duke's law school and Sun's firm,
                                                                 as well as a local news article. With this publicly available
Per Curiam: *
                                                                 information, Affordable was able to ascertain that both Holton
 *1 Affordable Care lost at arbitration. It now seeks vacatur    and Sun worked at Duke University School of Law: Holton as
of the resulting arbitration award because the arbitrator and    a full-time faculty member and Sun as a “2021 Wintersession”
an attorney for the other side both have connections to Duke     adjunct. Affordable also determined that Holton served as
University School of Law.                                        the director of Duke's Civil Justice Clinic, which partners
                                                                 with a local legal aid service that Sun's firm also partners
The district court correctly determined that these connections   with, and that Sun has provided legal representation to Duke
do not create a conflict. We therefore AFFIRM the district       University. 2
court's denial of relief.
                                                                 The district court reviewed this evidence and concluded that
                                                                 Affordable failed to establish grounds for vacatur under the
                                                                 FAA and that discovery was not warranted. It therefore denied
                              I
                                                                 Affordable's motions and confirmed the award. Affordable
Charles Holton was assigned to arbitrate a contract dispute      now appeals.
between Affordable Care L.L.C., which provides non-clinical
business services to affiliated dentists, and Dr. Raeline
McIntyre and her dental practice. After Holton completed


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Affordable Care, L.L.C. v. McIntyre, Not Reported in Fed. Rptr. (2023)
       Case 3:23-cv-00253-X Document 37-2 Filed 09/11/23                               Page 2 of 4 PageID 664

                                                                   We have upheld arbitration awards in the face of much
                                                                   stronger indicia of a potential conflict. See e.g., Positive
                               II
                                                                   Software, 476 F.3d at 283–84 (declining to vacate award
Affordable maintains that Holton's arbitration award must be       where prevailing party's attorney had previously litigated
vacated under the FAA due to “evident partiality or corruption     with the arbitrator); Cooper, 832 F.3d at 540 (declining to
in the arbitrator[ ].” 9 U.S.C. § 10(a)(2). We disagree.           vacate award based on an undisclosed relationship between
                                                                   the opposing party and another arbitrator who worked for
 *2 The standard for establishing evident partiality is “stern.”   the same arbitral organization that the presiding arbitrator
OOGC America, L.L.C. v. Chesapeake Expl., L.L.C., 975              belonged to); OOGC, 975 F.3d at 451 (declining to vacate
F.3d 449, 453 (5th Cir. 2020) (quoting Positive Software           award despite allegations that the arbitrator had a financial
Sols., Inc. v. New Century Mortg. Corp., 476 F.3d 278, 281         incentive to rule a certain way).
(5th Cir. 2007) (en banc)). The challenger must show “a
concrete, not speculative impression of bias” that “stem[s]        In each of these cases, the unsuccessful party to an arbitration
from a significant,” not trivial, “compromising connection.”       identified an unremarkable professional intersection between
Id. (citation and quotation marks omitted). “[T]he party           a party or attorney and an arbitrator, then used speculation and
challenging the award ‘must produce specific facts from            conjecture in an attempt to parlay that innocuous connection
which a reasonable person would have to conclude that the          into a conflict of interest. Affordable's challenge is no
arbitrator was partial to’ its opponent.” Id. (quoting Cooper      different. Affordable has not offered specific, concrete facts
v. WestEnd Cap. Mgmt., L.L.C., 832 F.3d 534, 545 (5th Cir.         that would cause a reasonable person to speculate—much less
2016)).                                                            require a reasonable person to conclude—that Holton was
                                                                   biased. 3
The connections derived from Affordable's internet research
do not establish a conflict of the sort contemplated by the
FAA. To the contrary, they are quintessential examples of
                                                                                                 III
the kind of “trivial past association” our precedents have
deemed insufficient to warrant “the extreme remedy of               *3 In the event that we deem vacatur of the arbitration
vacatur.” Positive Software, 476 F.3d at 279. Indeed, once         award unwarranted, as we now do, Affordable asks that it be
separated from Affordable's inflammatory characterizations,        permitted to conduct limited discovery to further probe the
the evidence in the record reflects the kind of professional       relationship between Holton and Sun.
intersections that one might expect to find between any two
attorneys working in the same geographical location.               We review a district court's order denying post-arbitration
                                                                   discovery for abuse of discretion. Vantage Deepwater Co.
Affordable has shown that both Holton and Sun served on            v. Petrobras Am., Inc., 966 F.3d 361, 373 (5th Cir. 2020).
the faculty of Duke's law school—one as an adjunct for the         “District courts occasionally allow discovery in vacatur
winter term and one as a full-time faculty member—and that         and confirmation proceedings,” and the Fifth Circuit has
Holton and Sun were both part of organizations that served         “endorsed a flexible inquiry for district courts to use.” Id.
the same legal aid non-profit. This cannot, standing alone,        at 372. Namely, “the court must weigh the asserted need
cast Holton's impartiality into doubt. It does not follow that     for hitherto undisclosed information and assess the impact
Sun and Holton had any kind of personal, professional, or          of granting such discovery on the arbitral process.” Id. at
financial relationship. We also agree with the district court      373 (citation omitted). In doing so, the district court “should
that Affordable's bald assertion that Sun and Holton shared        focus on ‘specific issues raised by the party challenging
an attorney-client relationship through Holton's employment        the award and the degree to which those issues implicated
with Duke University is unsupported by the facts and the law.      factual questions that cannot be reliably resolved without
                                                                   some further disclosure.’ ” Id. (citation omitted). “The party
This would be a different case if Affordable had offered           seeking discovery bears the burden of showing its necessity.”
evidence that Holton and Sun worked closely together. But          Id. (citation omitted).
we cannot, on this record, conclude that Holton and Sun were
even aware of their shared Duke connection.                        The district court's analysis is entirely consistent with this
                                                                   court's flexible standard. Affordable has not pointed to any


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Affordable Care, L.L.C. v. McIntyre, Not Reported in Fed. Rptr. (2023)
       Case 3:23-cv-00253-X Document 37-2 Filed 09/11/23                            Page 3 of 4 PageID 665

                                                               Affordable has failed to satisfy the strict requirements for
compelling evidence of impropriety that might demonstrate
the need for further discovery. Permitting discovery in this   vacatur of an arbitration award set out by the FAA. 4 It has
situation would therefore needlessly undermine the efficacy    likewise failed to demonstrate that the district court abused its
of the arbitral process. See id. (observing that “the loser    discretion in denying post-arbitration discovery. We therefore
in arbitration cannot freeze the confirmation proceedings in   AFFIRM.
their tracks and indefinitely postpone judgment by merely
requesting discovery” (citation omitted)).
                                                               All Citations
                           ***                                 Not Reported in Fed. Rptr., 2023 WL 3620755




                                                       Footnotes


†      Judge Willett was a member of the panel that heard oral argument. He has since recused and has not
       participated in this decision. This case is being decided by a quorum. 28 U.S.C. § 46(d).

*      This opinion is not designated for publication. See 5th Cir. R. 47.5.

1      Thus, this is not a case involving a complete lack of disclosure.

2      Affordable also asserted that “Holton represented Duke University in many lawsuits from 1983 through
       2005” and that “Sun and [his firm] took over representation of Duke University following Holton's long
       representation.” But, as the district court noted, Affordable has not produced any evidence of Holton's “long
       representation” of Duke. Nor did it provide any evidence to substantiate its assertion that Holton had handed
       litigation over to Sun or his firm.

3      Even combining the Duke connections with the perceived procedural and substantive advantages that
       Affordable believes Holton extended to Sun and his client, we cannot conclude that Affordable has established
       evident partiality.

4      Affordable's challenges based on sections 10(a)(1), 10(a)(3), and 10(a)(4) of the FAA also fail. Affordable
       cannot satisfy the due diligence prong of the section 10(a)(1) analysis because it was on notice of a possible
       connection between Holton and Sun as soon as Sun entered his appearance, yet it did not follow up on that
       information until it had already lost at arbitration. See Morgan Keegan & Co., Inc. v. Garrett, 495 F. App'x 443,
       447 (5th Cir. 2017) (quoting Barahona v. Dillard's, Inc., 376 F. App'x 395, 397 (5th Cir. 2010)). Affordable's
       argument under section 10(a)(3), that Holton engaged in misconduct by disregarding the ruling of a federal
       district court in concurrent federal litigation also involving Affordable and Dr. McIntyre, is contrary to the
       record. Holton heard evidence on this ruling, received the ruling into the record, and allowed oral argument
       on the issue after closing arguments had been completed. Nor does Affordable provide any argument to
       support its contention that Holton was bound by the ruling, which involved a different contract from the one at
       issue in the arbitration, different facts, and a different state's law. Affordable's argument under section 10(a)
       (4), that Holton exceeded his powers by granting unsolicited attorney fees to Dr. McIntyre, is also contrary
       to the record. The services contract between Affordable and Dr. McIntyre expressly incorporated American
       Arbitration Association rules, which permit an award of attorney fees “if all parties have requested such an
       award.” American Arbitration Association, Commercial Arbitration Rules and Mediation Procedures R-47(d)ii
       (2013). Both Affordable and Dr. McIntyre requested an award of attorney fees in their arbitration pleadings
       and reiterated that request in their proposed findings and conclusions.




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Affordable Care, L.L.C. v. McIntyre, Not Reported in Fed. Rptr. (2023)
      Case 3:23-cv-00253-X Document 37-2 Filed 09/11/23                           Page 4 of 4 PageID 666


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